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                      UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF DELAWARE

  MICHAEL NINIVAGGI, JAKE MICKEY,
  CAILIN NIGRELLI and HANNAH RUSSO,                 Civil Action No. 20-cv-1478-SB
  individually and on behalf of all others
  similarly situated,

                                Plaintiffs,

         v.

  UNIVERSITY OF DELAWARE,

                                 Defendant.



                              JOINT NOTICE OF SETTLEMENT

       Plaintiffs, Michael Ninivaggi, Jake Mickey, Cailin Nigrelli and Hannah Russo, and

Defendant, the University of Delaware, hereby submit this joint notice of settlement to inform the

Court that the Parties have reached agreement on all material terms of a class action settlement of

this matter. The Parties will finalize a full-form settlement agreement and Plaintiffs will file a

Motion for Preliminary Approval of the Class Action Settlement on or before June 7, 2023.



Dated: April 27, 2023

CHIMICLES SCHWARTZ KRINER &                          SAUL EWING LLP
DONALDSON-SMITH LLP
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